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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 GORDON SCHIFF and,
 CELESTE ROYCE,
             Plaintiffs,
 v.
                                                     Civil Action No. 1:25-CV-10595-LTS
 U.S. OFFICE OF PERSONNEL
 MANAGEMENT,
 CHARLES EZELL, in his official capacity as
 Acting Director of the U.S. Office of
 Personnel Management,
 U.S. DEPARTMENT OF HEALTH &
 HUMAN SERVICES,
 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services,
 AGENCY FOR HEALTHCARE RESEARCH
 AND QUALITY, and
 MAMATHA S. PANCHOLI, in her official
 capacity as Acting Director of the Agency for
 Healthcare Research and Quality,

                  Defendants.


               DEFENDANTS’ MOTION TO DISMISS THE COMPLAINT


       Defendants, by and through its attorney, Leah B. Foley, United States Attorney for the

District of Massachusetts, respectfully move this Court to dismiss Plaintiffs’ Complaint

(“Complaint”) for lack of subject matter jurisdiction under Rule 12(b)(1).

       This Court lacks jurisdiction because Plaintiffs’ claims are moot; Plaintiffs lack standing

to pursue their claims; and their challenges to the implementation of the OPM memorandum

going forward are not ripe for adjudication.




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       In support of this Motion, Defendants respectfully refers the Court to their Memorandum

of Law, filed herewith.

                                                     Respectfully submitted,

                                                     LEAH B. FOLEY

                                                     United States Attorney

Dated: June 16, 2025                          By:     /s/ Shawna Yen
                                                     SHAWNA YEN
                                                     Assistant U.S. Attorney
                                                     United States Attorney’s Office
                                                     1 Courthouse Way, Suite 9200
                                                     Boston, MA 02210
                                                     617-748-3100
                                                     Shawna.Yen@usdoj.gov


                          LOCAL RULE 7.1(a)(2) CERTIFICATION


       I, Shawna Yen, Assistant United States Attorney certify that I exchanged emails with

Plaintiffs’ counsel about this Motion, and the parties were unable to resolve or narrow the issues.

Dated: June 16, 2025                          By:    /s/ Shawna Yen
                                                     Shawna Yen
                                                     Assistant U.S. Attorney
                                                     U.S. Attorney’s Office
                                                     1 Courthouse Way, Suite 9200
                                                     Boston, MA 02210
                                                     Tel.: 617-748-3100
                                                     Email: Shawna.Yen@usdoj.gov


                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants.


Dated: June 16, 2025                          By:    /s/ Shawna Yen
                                                     SHAWNA YEN
                                                     Assistant United States Attorney

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